Case 2:24-cv-00080-JRG Document 52-7 Filed 09/18/24 Page 1 of 4 PagelD #: 1010

EXHIBIT 5
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Google Maps Zurich Airport to Dallas Fort Worth International Airport

+12 br 50 min
| from $632

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Connecting1 or more stops 12 hr 50 min+
Round trip price, Oct 4-8 from $632
American, Iberia, KLM...

[4 See results on Google Flights

Explore nearby Dallas Fort Worth International
Airport

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Restaurants Hotels Bars Coffee More

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Dallas Fort Worth International Airport to 100 E

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Fastest route now, avoids road
closure on 1-635

This route has tolls.

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Explore new places along this route
Add suggested stops

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See more stops

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